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                          IN THE UNITED                 DISTRICT COURT               ,       a
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                         FOR THE                             OF ILLINOIS



       In Re: Petitions for Retroactive
       Application of Amendment to
       Sentences Previously Imposed for
       Certain Crack Cocaine Offenses                           No.     It12-
                                    ADMINIS'lbUTIVE ORDER

       Hemdon, Chief Judge:

                     The United States Sentencing Commission lUSSC) has reduced
       somewhat the longstanding disparity' between sentences recommended by it for
       powder cocaine and crack cocaine i!n the advisory sentencing guidelines. The
       prospective effective date was Noveaber 1, 2007. In the exercise of its lawful
       authority, the Commission decided to make its advisory guidelines for these offenses,
(      under certain circumstances upon the appropriate findings of the presiding judge,
       retroactive. However, the effective ddte of this retroactive application is not until
       March 3, 2008. Consequently, the Cdurt cannot act on any petitions requesting a
       reduction in sentence prior to that date.

                     This Court, en banc, has determined that any petitions filed prior to that
       date will be stayed until March 3,20081. However, regardless of that stay, the Federal
       Public Defenders Office (FPD) is herkby designated to represent each defendant
       (petitioner)who files such a petition or motion, by whatever nomenclature the litigant
       places on the document. The Public Defenders Office shall thereupon decide
       specifically whlch attorney within the odflce shall individually be assigned which files.
       Should the FPD determine there is a konflict for that particular defendant, it shall
       enlist the FPD of the Eastern District of Missouri for representation of that defendant
       through the interomce agreement it hab worked out with that office for that purpose.
       If the FPD plans to file an amended qetition/motion for reductton, it may do so on
       March 3, 2008, but it shall provfde courtesy copies to the U.S. Attorney's office on
       February 27, 2008.

                      The U.S. Attorney's Offlck is not required to file a response to any such
       filing (petition or motion) so filed by *e defendant seeking a reduction until March
       10, 2008. Prior to that date, the Court in concert with the U.S. Attorney's office and
       the FPD will work together to determihe the procedural and logistical issues relative
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    to the handling of such cases. The USSC has identified 27 defendants who will be
    eligible for immediate release, if the bresidingjudge so determines, in March, with
    another 25 within the first year after the amendment. Priority in sequence of
    handling will be accorded those first 17 who are potentially eligible immediately and
    the next 25 thereafter. It is noted thAt the U.S. Attorney's offlce and the FPD have
    consented, in general principle, to Utilizing video conferencing equipment when
    possible.
                  The clerks office is directed to implement this order by entering the FPD
    as attorney of record in each case rqlevant to the issues discussed in this order,
    sending a copy of this order to the dedendant, petitioner, movant, litigant who seeks
    to have his sentence reduced pursuwt to the USSC amendment and who files his
    moving document prior to March 3, i2008,and to send copies of this order to the
    FPD, U.S. Attorney and posting it on the District Court's website.


          IT I S SO ORDERED.

          Signed this 19th day of December, 2007.

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                                                  Chief Judge
                                                  United States District Court
